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AO 450 (GAS Rev 09/20) Judgment in a Civil Case

United States District Court

Southern District of Georgia

 

PATRICIA KENNEDY,

Plaintiff,
JUDGMENT IN A CIVIL CASE

V. CASE NUMBER; CV219-92
R.V. CORP.,

Defendant.

Cc Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

1 Decision by Court. This action came before the Court. The issues have been considered and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED

that in accordance with the Order of the Court, entered this 30th day of October 2020, Plaintiff's

motion for summary judgment is GRANTED; therefore, judgment is hereby entered in favor of the

Plaintiff, Patricia Kennedy, and against Defendant, R.V. Corp. This case stands CLOSED.

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Approved by:
HON. LI ) OOD, JUDGE
UNITE
SOUTHERN DISTRICT OF GEORGIA
Ncw ~ a {ft Wwre o John E. Triplett, Acting Clerk
Date / Clerk

(By) Deputy Clerk

GAS Rev 10/2020
